            Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 1 of 15 PAGEID #: 1




                                                                               5/11/21




                                                                  3:21MJ181
                                                                        181




Telephone

        5/11/21
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 2 of 15 PAGEID #: 2
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 3 of 15 PAGEID #: 3
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 4 of 15 PAGEID #: 4
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 5 of 15 PAGEID #: 5
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 6 of 15 PAGEID #: 6
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 7 of 15 PAGEID #: 7
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 8 of 15 PAGEID #: 8
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 9 of 15 PAGEID #: 9
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 10 of 15 PAGEID #: 10
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 11 of 15 PAGEID #: 11
     Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 12 of 15 PAGEID #: 12




11
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 13 of 15 PAGEID #: 13
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 14 of 15 PAGEID #: 14
Case: 3:21-mj-00181-SLO Doc #: 1 Filed: 05/11/21 Page: 15 of 15 PAGEID #: 15
